       Case 3:16-cr-02575-AJB               Document 95            Filed 01/12/17            PageID.300        Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                  United States District Court                                                 FILE
                                        SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                           17 JAN 12 PM Is 44:
          UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE                         ^C,-T
                     V.                                             (For Offenses Committed On or ^HeFNovember;;), 1987).u
     MARTIN GUILLERMO ROBLES-MADERA (03)
                                                                       Case Number:         16CR2575-AJB-03
                                                                                                     nv
                                                                    Robert H. Rexrode
                                                                    Defendant’s Attorney
REGISTRATION NO.                58690298

□-
THE DEFENDANT:
13 pleaded guilty to count(s)       One of the Information

□ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                  Nature of Offense                                                                  Number(s)
8 USC 1324(a)(l)(A)(ii)          Conspiracy to Transport Certain Aliens for Financial Gain                                1
and (a)(l)(B)(i)




    The defendant is sentenced as provided in pages 2 through     ___         2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
□ Count(s)                                                    is          dismissed on the motion of the United States.

      Assessment: $100.00 - Waived



IE  Fine waived            □ Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                    January 9. 2017
                                                                     'ate oftlmposmen of Sentence


                                                                    H0N. ANTHONY J. B^JTAGLIA
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                16CR2575-AJB-03
       Case 3:16-cr-02575-AJB             Document 95       Filed 01/12/17       PageID.301         Page 2 of 2
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                MARTIN GUILLERMO ROBLES-MADERA (03)                                      Judgment - Page 2 of 2
CASE NUMBER:              16CR2575-AJB-03

                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 □     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:




 □     The defendant is remanded to the custody of the United States Marshal.

 □     The defendant shall surrender to the United States Marshal for this district:
       □ at                                 A.M.              on
       □     as notified by the United States Marshal.

 j_j   The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                        , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                    16CR2575-AJB-03
